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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


  FREDERICK LEMANN                               CIVIL ACTION

  VERSUS                                         NO: 15-3329

  MIDWEST RECOVERY FUND,                         SECTION: “J”(5)
  LLC, ET AL.

                            ORDER & REASONS

     Before the Court is a Motion to Dismiss (R. Doc. 53) filed by

Defendant Midwest Recovery Fund, LLC, and an opposition thereto

filed by Plaintiff. (R. Doc. 56.) Having considered the motion and

legal memoranda, the record, and the applicable law, the Court

finds that the motion should be GRANTED, as explained more fully

below.

                   FACTS AND PROCEDURAL BACKGROUND

     This   litigation    derives   from      Defendants’    alleged   debt

collection efforts via phone calls to Plaintiff and his family in

Louisiana. (R. Doc. 1 at 1-4.) Two loan accounts that originated

with Castle Payday Installment Loans were taken out in Plaintiff’s

name. Id. at 1. Plaintiff denies taking out the loans. Plaintiff

states that the loans were charged off by Castle Payday in March

2015, and sold to Defendant Midwest Recovery Fund, LLC (Midwest).

Id. Plaintiff claims that Midwest then sold the accounts to CJC

Portfolio   Management,   LLC,   which   is    owned   and   controlled   by

Cristopher J. Collins. Id. at 2. CJC Portfolio Management then
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sold the accounts to National Debt Holdings, LLC, which is owned

and operated by Jeremy Poehler, who placed the two accounts for

collection with a collection agency referred to as Collection

Agency XYZ (Agency XYZ). Id.

     Plaintiff claims that around April or May 2015, he and his

family began receiving repeated and unwanted phone calls from

Agency XYZ, in an attempt to recover the alleged debt. Id. at 3-

4. According to Plaintiff, Agency XYZ ignored his requests to stop

calling, continued contacting him directly after informing the

agency that he was represented by counsel, and threatened Plaintiff

with a lawsuit. Id. On August 7, 2015, Plaintiff filed this suit

against the Defendants, alleging violations of the Fair Debt

Collection Practices Act, the Telephone Consumer Protection Act,

and fraud. Id. at 6, 8. On August 31, 2016, Defendant Midwest filed

a motion to dismiss alleging this Court lacks personal jurisdiction

over Midwest, and that Plaintiff has failed to state a claim for

which relief can be granted. (R. Doc. 53 at 1, 11.) On September

14, 2016, Plaintiff filed a timely opposition to Midwest’s motion,

arguing that this Court has personal jurisdiction over Midwest,

and that Plaintiff has stated valid claims against Midwest. (R.

Doc. 56 at 4-7, 9.) Midwest’s motion to dismiss is now before the

Court on the briefs without oral argument.




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                               PARTIES’ ARGUMENTS

        1.     Defendant’s Arguments

        Defendant Midwest argues that Plaintiff’s claims should be

dismissed under Rule 12(b)(2), or in the alternative, Rule 12(b)(6)

of the Federal Rules of Civil Procedure. (R. Doc. 53-1 at 1.)

First, Defendant argues that Plaintiff has failed to satisfy his

burden of showing that the exercise of personal jurisdiction

comports with the exercise of due process. Id. at 3. Midwest claims

that it never attempted to contact the Plaintiff or collect any

debt    from    him.   Id.    Midwest    submitted     the    declaration   of    its

Executive Vice President, Andrew Myers, who asserts that Midwest

never    purposely     directed      its   activities        toward   Louisiana    or

availed      itself    of    the   privileges    of    conducting     business    in

Louisiana. Id. at 7. Further, Defendant asserts that it has no

business operations in Louisiana, and never contacted or directed

anyone else to contact Plaintiff or his family. Id. at 8. Defendant

also contends that Agency XYZ’s actions cannot be imputed to

Midwest to establish personal jurisdiction. Id. at 9. Midwest

claims that the unilateral conduct of Agency XYZ is insufficient

to establish that it has substantial connections with Louisiana,

because      Midwest    had    nothing     to   do    with    collection    related

activities. Id. In addition, Midwest contends that an exercise of

specific personal jurisdiction would be unfair and unreasonable,

due to the heavy burden of travel placed on Midwest, and the lack

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of contact between the Louisiana based Plaintiff and Minnesota

based Defendant. Id. at 10.

      Alternatively,    Midwest     contends     that   Plaintiff’s    claims

should be dismissed under Rule 12(b)(6) for failure to state a

claim. Id. at 11. Midwest asserts that because it never made any

attempts to contact Plaintiff to collect debt, it cannot be in

violation of the Fair Debt Collection Practices Act. Id. at 13.

Similarly, Midwest asserts that it cannot be in violation of the

Telephone Consumer Protection Act, because it never called the

Plaintiff or directed anyone else to do so. Id. at 13-14. Midwest

also claims that Plaintiff failed to make any direct factual

allegations of fraud and did not meet the heightened pleading

requirements for fraud under Rule 9(b). Id. at 15.

      2.    Plaintiff’s Arguments

      In opposition to Defendant’s motion, Plaintiff concedes that

the allegations in his complaint are insufficient to establish

general jurisdiction. (R. Doc. 56 at 3.) However, Plaintiff asserts

that the allegations in the complaint are sufficient to establish

that Midwest purposefully availed itself of Louisiana, and the

Court should maintain specific jurisdiction over Midwest. Id. at

2,   4-6.   Plaintiff   maintains    that   by    purchasing   and    selling

Louisiana    debt    without    confirming       its    validity,     Midwest

established minimum contacts with Louisiana. Id. at 5. Plaintiff

also maintains that the claims against Midwest arise out of its

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Louisiana-related        contacts,     as       the     Plaintiff      received   the

injurious phone calls in Louisiana. Id. It is Plaintiff’s position

that the exercise of specific jurisdiction over Defendant is fair

and reasonable, given that the alleged phone calls were made to

Plaintiff and his family, who reside in Louisiana. Id. at 6, 8.

Plaintiff asserts that it has stated causes of action against

Midwest under the Fair Debt Collection Practices Act, the Telephone

Consumer     Protection     Act,     and       fraud.     (R.   Doc.    56   at   9.)

Additionally, Plaintiff argues that the Court must view the facts

in the complaint in the light most favorable to the Plaintiff, and

Plaintiff’s assertions against Midwest are sufficient to avoid a

dismissal at this stage of the proceedings. Id. at 8-9.

                               LEGAL STANDARD

       Where a defendant challenges personal jurisdiction, the party

seeking to invoke the power of the court bears the burden of

proving that jurisdiction exists. Luv N’ Care, Ltd. v. Insta-Mix,

Inc., 438 F.3d 465, 469 (5th Cir. 2006) (citing Wyatt v. Kaplan,

686 F.2d 276, 280 (5th Cir. 1982)). The plaintiff need not,

however,     establish    jurisdiction          by    a   preponderance      of   the

evidence; a prima facie showing suffices. Id. This court must

resolve all undisputed facts submitted by the plaintiff, as well

as all facts contested in the affidavits, in favor of jurisdiction.

Id.



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       The Due Process Clause of the Fourteenth Amendment guarantees

that no federal court may assume jurisdiction in personam of a

non-resident        defendant          unless          the     defendant        has      meaningful

“contacts, ties, or relations” with the forum state. Int’l Shoe

Co. v. Washington, 326 U.S. 310, 319 (1945). Jurisdiction may be

general      or    specific.          Where    a       defendant        has    “continuous        and

systematic        general       business       contacts”           with       the    forum   state,

Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408,

415 (1984), the court may exercise “general” jurisdiction over any

action brought against that defendant. Id. at 414. Where contacts

are   less    pervasive,         the     court         may     still     exercise        “specific”

jurisdiction        “in     a    suit    arising             out   of    or    related       to   the

defendant’s contacts with the forum.” Id. at 414.

       A federal court may satisfy the constitutional requirements

for specific jurisdiction by a showing that the defendant has

“minimum contacts” with the forum state such that imposing a

judgment would not “offend traditional notions of fair play and

substantial justice.” Int’l Shoe, 326 U.S. at 316. In Nuovo Pignone

v. STORMAN ASIA M/V, 310 F.3d 374 (5th Cir. 2002), the Fifth

Circuit consolidated the personal jurisdiction inquiry into a

convenient three-step analysis: “(1) whether the defendant . . .

purposely     directed          its    activities            toward     the     forum     state    or

purposely         availed       itself        of       the    privileges            of   conducting

activities there; (2) whether the plaintiff’s cause of action

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arises    out    of       or   results     from      the    defendant’s        forum-related

contacts; and (3) whether the exercise of personal jurisdiction is

fair and reasonable.” Id. at 378 (citing Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 474 (1985)). The forum state may create,

and this court would be bound to apply, additional jurisdictional

restrictions         by    statute,        but    Louisiana’s        “long-arm”        statute

extends jurisdiction to the constitutional limit, so the two

inquiries       in    this     case   fold       into      one.    See   Adams    v.    Unione

Mediterranea Di Sicurta, 220 F.3d 659, 667 (5th Cir. 2000); LA.

R.S. 13:3201(B).

                                         DISCUSSION

     As     mentioned           above,      Plaintiff            bears   the     burden     of

establishing personal jurisdiction. Johnston v. Multidata Sys.

Int’l Corp., 523 F.3d 602, 609 (5th Cir. 2008). Because this Court

did not hold an evidentiary hearing, Plaintiff is required to

present only a prima facie case of personal jurisdiction. Id.

“Moreover,      on    a    motion     to    dismiss        for    lack   of    jurisdiction,

uncontroverted allegations in the plaintiff’s complaint must be

taken as true, and conflicts between the facts contained in the

parties’ affidavits must be resolved in the plaintiff’s favor for

purposes of determining whether a prima facie case for personal

jurisdiction exists.” Id. (quoting Bullion v. Gillespie, 895 F.2d

213, 217 (5th Cir. 1990)). In evaluating whether Plaintiff has

presented a prima facie case of personal jurisdiction, the court

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“will      not      ‘credit       conclusory       allegations,         even     if

uncontroverted.’” Sealed Appellant 1 v. Sealed Appellee 1, No. 14-

20204, 2015 WL 4880162, at *3 (5th Cir. Aug. 17, 2015) (quoting

Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865,

869 (5th Cir. 2001)). Therefore, if a defendant submits affidavit

evidence directly contradicting the plaintiff’s jurisdictional

allegations, the court “must determine whether the plaintiff[ ]

ha[s] established a prima facie case of personal jurisdiction

through     nonconclusory         allegations     supported       by    admissible

evidence.” Id.; accord Diamond Crystal Brands, Inc. v. Food Movers

Int’l, Inc., 593 F.3d 1249, 1257 (11th Cir. 2010) (“Where, as here,

the   defendant     challenges     jurisdiction     by    submitting     affidavit

evidence in support of its position, ‘the burden traditionally

shifts    back    to   the   plaintiff    to    produce   evidence      supporting

jurisdiction.’”).

       Under either a specific or general jurisdiction analysis,

Plaintiff has failed to satisfy its burden of proving that this

Court has personal jurisdiction over Defendant Midwest. To the

contrary,      Defendant     submitted    a    declaration   by    Andrew   Myers,

Midwest’s Executive Vice President, stating that: (1) Midwest has

no property or operations in Louisiana; (2) Midwest has never

engaged in debt collection in Louisiana; (3) Midwest retained no

interest in the accounts discussed in the Complaint after selling

them;    (4)     neither     he   nor   Midwest    initiated      or   engaged   in

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communication       with    Plaintiff    or   his   family,   in   Louisiana    or

elsewhere; and (5) neither he nor Midwest directed, authorized, or

participated in Agency XYZ’s alleged Louisiana actions. (R. Doc.

53-2    at    2.)   While    Plaintiff    subsequently     submitted    his    own

declaration asserting that Midwest purchased the debt, it never

stated nor offered any evidence to show that Midwest was involved

with the alleged phone calls. (R. Doc. 56-1.) While Plaintiff

asserted that Defendant engaged in collection activities, these

assertions were only made in the summary and conclusion portion of

Plaintiff’s memorandum. Id. at 2, 9. These conclusory statements

are    not    supported     by   any    evidence    supporting     jurisdiction,

admissible or otherwise, to controvert Mr. Meyers’ affidavit.

Therefore, Plaintiff’s argument for personal jurisdiction rests on

the allegations made in his Complaint, which are insufficient to

show   that    Midwest      directed    any   activities   towards    Louisiana.

Lemann v. Midwest Recovery Fund, LLC, No. 15-3329, 2015 WL 7306442,

at *5 (E.D. La. Nov. 19, 2015). Plaintiff’s Complaint only alleges

that Midwest purchased the accounts, and then sold them to CJC

Portfolio Management, LLC. (R. Doc. 1 at 1-2.) Nothing in the

complaint “ascribes specific conduct or statements to [Midwest].”

Lemann, 2015 WL 7306442, at *5 (quoting Gen. Retail Servs., Inc.

v. Wireless Toyz Franchise, LLC, 255 F. App’x 793, 793 (5th Cir.

2007)).



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      This Court has previously stated: 1

      Contrary to Plaintiff’s argument, “it is not enough to
      simply rest on the use of the collective term,
      ‘Defendants,’ in the allegations.” Id. (citing Rush v.
      Savchuk, 444 U.S. 320, 332-22 (1980) (holding that
      aggregating   the  defendant   into  a   collective  of
      “defending parties” did not satisfy federal due
      process)); see also Nat’l Cmty. Reinvestment Coal. v.
      NovaStar Fin., Inc., 631 F. Supp. 2d 1, 3 (D.D.C. 2009)
      (“The plaintiff may not aggregate factual allegations
      concerning multiple defendants in order to demonstrate
      personal jurisdiction over any individual defendant.”).

Lemann, 2015 WL 7306442, at *5. For the above reasons, the Court

finds that the Plaintiff has not satisfied his burden of proving

a prima facie showing that personal jurisdiction over Defendant

Midwest is constitutional. See Harris v. Nichols Concrete Equip.

Co., No. 02-2671, 2002 WL 31729490, at *2 (E.D. La. Dec. 2, 2002)

(dismissing plaintiff’s claims for lack of personal jurisdiction

where plaintiff failed to submit any evidence contradicting the

defendant’s affidavit). Therefore, the court need not address

whether Plaintiff’s claims should be dismissed for failure to state

a claim under Rule 12(b)(6). See Stiaes v. GEORXT, Inc., No. 12-

3013, 2013 WL 3107464, at *6 (E.D. La. June 18, 2013).




1 This Court dismissed Plaintiff’s factually similar claims against other
Defendants in this lawsuit finding that this Court lacked personal jurisdiction
over such Defendants. Lemann, 2015 WL 7306442, at *5.

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                              CONCLUSION

Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss (Rec.

Doc. 53) is GRANTED. Plaintiff’s claims against Defendant Midwest

Recovery Fund, LLC are DISMISSED WITHOUT PREJUDICE for lack of

personal jurisdiction.

     New Orleans, Louisiana this 19th day of October, 2016.




                                 CARL J. BARBIER
                                 UNITED STATES DISTRICT JUDGE




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